 

. Case: 05-18148 Doc: 1

:
(Official Form 1) (12/03) West Group, Rochester, NY
FORM B1

Filed: 07/08/05

United States Bankruptcy Court
WESTERN District of OKLAHOMA

Page: 1 of 28

  

 

Name of Debtor {it individual, enter Last, First, Middie}:

Loftus, Kevin Daniels

Name of Joint Debtor (Spouse)Last, First, Middte):

Loftus, Mildred Suzanne

 

All Other Names used by the Debtor in the jast 6 years
(include married, maiden, and teade names):
NONE

All Other Names used by the Joint Debtor in the last 6 years
(include married, maiden, and irade names):

05- 1814S WV

 

 

Last four digits of Soc. Sec. No./Complete EIN or other Tax ID. No.

| (if more than one, state ait 793
Street Address of Debtor (No. & Street, City, State & Zip Code):
620 Flormabie

Ponca City OK 74601

Last four digits of Soc. Sec. No./Compete EIN or other Tax I.D. No.

(ifmore than one, state aly? 23 €
Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
620 Flormabla

Ponca City OK 74601

 

County of Residence or of the
Principal Place of Business: Kay

County of Residence or of the
Principal Place of Business: Kay

 

Mailing Address of Debtor (if different from steeet address):
SAME

Mailing Address of Joint Debtor (it different from street address):
SAME

 

 

Location of Principal Assets of Business Debtor
{if different from street address above) NOT’ APPLICABLE

 
   

Venue (Check any applicable box)

BY Debtor has been domiciled or has had a residence, principal place of business, or principal assets In this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

[J There is a bankruptcy case concerning debtor's affiliate, generai partner, or partnership pending in this District.

 

Type of Debtor (Check all boxes that apply)

EX] Individual(s) [J Raiiroad

[1 Corporation 2 Stockbroker

CO Partnership [J Commodity Broker
(1) Other (] Clearing Bank

 

Chapter or Section of Bankruptcy Code Under Which
the Petition is Filed (Check one box}
Chapter 7 (] Chapter 11 C4 Chapter 13
1 Chapter 9 (1 Chapter 12
C1 Sec. 304 - Case ancillary to foreign proceeding

 

Nature of Debts (Check one box)
fx] Consumer/Non-Business (1 Business

 

Filing Fee (Check one box)

 

Chapter 11 Small Business (Check ail boxes that apply)
(1 Debtor is a small business as defined in 11 U.S.C, § 104

(] Debtor is and elects to be considered a small business under
11 U.S.C, § 1121(e) (Optional)

Full Filing Fee attached

[] Filing Fee to be paid in installments (Applicable to individuals only)
Must attach signed application for the court's consideration
certifying that the debtor is unable to pay fee except in installments.
Rule 1006(b). See Official Form No, 3.

 

 

Statistical/Administrative Information (Estimates only}

(1 Debtor estimates that funds will be available for distribution to unsecured creditors.

THIS SPACE 15 FOR COURT USE ONLY

 

 

 

 

 

 

Pr)
co
Debtor estimates that, after any exempt property is excluded and administrative expenses cA
paid, there will be no funds available for distribution to unsecured creditors. Cu -y
Ca
ro paren
. . 1 9 99 100. 99 004 : eee
Estimated Number of Creditors 18 4 8 0-498 200-998 1000-over se co i
CO C] O O O : my
Estimated Assets *. ” - ae
$0 to $50,001 to $100,001 to = $800,00110 $1,000,001 to $10,000,001 to $50,000,001 to + More than re —
$50,000 $100,000 $600,000 $f million $10 million © $50 million © $00 milion $100 million Mes
bd mt Oo 0 O C O Cc a ws
Estimated Debts f %, dh WV
$0 to $50,001 to = $100,001 to $500,007 to «$1,000,001 to $10,000,001 to $0,480,961 -.. thay. wt
$50,000 $100,000 $460,006 $1 million $t0 milion ==» $50 mittion «= ge mil $100 mit
oO O ee O O fj Cl O

 

 

 

No AME
 

Doc: 1

Case: 05-18148

:
(Official Form 1¥(12/03) West Group, Rochester, N¥

Filed: 07/08/05

Page: 2 of 28

 

Voluntary Petition

(This page must be completed and filed in | every case)

 

ocation Where Filed:

Name of Debtor(s}: FORM B1, Page 2
Kevin Daniels Loftus and

Miidzed uzanne portus

I Cneo Number: _

 

Wichita, Kansas L_oo103lt ,
Name of Debtor: | Case Number: oT Date Filed: —
NONE

District: Relationship: Judge:

Signature(s) of Debtor(s) (individual/Joint)

i declare under penalty of perjury that the information provided in this
petition is true and correct.

{if petitioner is an individual whose debts are primarily consumer debts
and has chosen to file under chapter 7] | am aware that | may proceed
under chapter 7, 11, 12, or 13 of title 11, United States Code, understand
the relief available under each such chapter, and choose to proceed
under chapter 7,

{ request relief in accordance with the chapter of tite 11, United States

Code, Nr. Bee
Xx Signature of Debt f
ignature of Debtor
x
LLG of Joint Debtor 9

= pe (if not represented by attorney}

 

 

a

 

Exhibit A

{Te be completed if debtor is required to file periodic reporis
(2.g., forms 10K and 10Q) with the Securities and Exchange
Commission pursuant to Section 13 or 15(d) of the Securities
Exchange Act of 1934 and is requesting relief under Chapter 11}

(J Exhibit A is attached and made a part of this petition

 

Exhibit B
{To be completed if debtor is an individuat
whose debts are primarily consumer debts}
!, the attorney for the etitioner named in the foregoing petition, declare

 

 

Sidnature of Attomey for Debtor(s} Date

 

 

 
  

Signature of Attorney
Va

 

 

Signature of Attorney for Debtér(s)

Todd R. Burlie 016148
Printed Name of Attomey for Debtor(s)

Todd R. Buriie
Firm Name

2.G. Box 1897
Address

 

Ponca City OK 74602

580-762-4800 -h- OS

Telephone Number Date

Exhibit ¢
Does the debtor own or have possession of any property that poses
or is aleged to pose a4 threat of imminent and identifiable harm to
public health and safety?
[1 Yes, and exhibit C is attached and made a part of this petition.

EI No

 

 

Signature of Debtor (Corporation/Partnership)}

! declare under penalty of perjury that the information provided in this
petition is true and correct, and that f have been authorized to file this
petition on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title 14,
United States Code, specified in this petition.

xX

 

Signature of Authorized Individual

 

Printed Name of Authorized Individual

 

Title of Authorized Individual

 

Date

 

 

Signature of Non-Attorney Petition Preparer
| certify that | am a bankruptcy petition preparer as defined in 11 U.S.C.
§ 110, that | prepared this document for compensation, and that | have
provided the debtor with a copy of this document.

 

Printed Name of Bankruptcy Petition Preparer

 

Social Security Number

 

Address

 

 

Names and Social Security numbers of all other individuals who
prepared or assisted in preparing this document:

if more than one person prepared this document, attach additional!
sheets conforming to the appropriate official form for each person.

 

Signature of Bankruptey Petition Preparer

 

Date

A bankruptcy petition preparer's failure to comply with the provisions
of title 11 and the Federal Rules of Bankruptcy Procedure may result
in fines or imprisonment or both 14 U.S.C, § 110; 18 U.S.C. § 156.

 

  

 
 

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F . Rule 2016(b) (8/91) West Group, Rochester, NY

In re

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF OKLAHOMA

Kevin Daniels Leftus Case No.
and Chapter 7
Mildred Suzanne Loftus
f Debtor

 

Attorney for Debtor: Todd R. Burlie

STATEMENT PURSUANT TO RULE 2016(B)

The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that:

1.

2.

Dated: 05

The undersigned is the attorney for the debtor(s) in this case.

The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
a) For legal services rendered or to be rendered in contemplation of and in

 

 

 

connection with this case 6... ne ee eee $ 751.00
b) Prior to the filing of this statement, debtor(s) have paid............... $ 751.00
c) The unpaid balance due and payable is... 6.0.0.0... eee eee $ 0.00
$ 209.00 of the filing fee in this case has been paid.

The Services rendered or to be rendered include the following:

a) Analysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining whether to

file a petition under title 11 of the United States Code.

b) Preparation and filing of the petition, schedules, statement of financial affairs and other documents required by the

court.
G) Representation of the debtor(s) at ihe meeting of creditors.

The source of payments made by the debtor(s} to the undersigned was from earnings, wages and compensation jor

services performed, and
None other

The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any, will

be from earnings, wages and compensation for services performed, and
None other

The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following for

the value stated:
None

The undersigned has not shared or agreed to share with any other entity, other than with members of undersigned’s

law firm, any compensation paid or to be paid except as follows:
None

 

 

Xx
Attorney for Petitioner: Todd R. Burlie
Todd Rk. Burlie
P.O. Box 1897
Ponca City OK 74602
 

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PORM Bs {6/90} West Group, Rachester, NY

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF OKLAHOMA

Inte Kevin Daniels Loftus and Mildred Suzanne Loftus Case No.
Chapter 7

/ Debtor

 

SUMMARY OF SCHEDULES

Indicate as to each schedule whether that schedule is attached and state the number of pages on each. Report the totals from Schedules A, B, D, E, F, |,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total arriount of the debtor's assets. Add the amounts from
Schedules D, E and F to determine the total amount of the debtor's liabilities,

 

 

     
 
 
 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    
  

AMOUNTS SCHEDULED
Attached No. of
NAME OF SCHEDULE (Yes/No) Sheets ASSETS LIABILITIES OTHER
A-Rea! Property
Yes i $ 0.00
B-Personal Property
Yes 3 15,503.00
C-Property Claimed as
Exempt Yes 4
D-Creditors Holding Secured
Claims Yes 1
E-Creditors Holding
Unsecured Priority Claims Yes 2
F-Creditors Holding
Unsecured Nonpriority Claims Yes 5
G-Executory Contracts and
Unexpired Leases Yes Z
HCodebtors = (<isw;é;t;é‘éiédr;té‘(‘(‘(‘(“‘c((;;AC:;C(‘(<;‘(‘(<‘(<‘édar
Yes ad
i-Current lncome of Individual
Debtor(s) Yes i
J-Current Expenditures of
Individual Debtor(s) Yes i
Total Number of Sheets In All Schedules » 17
Total Assets» } $ 15,503.00 }j

 

 

  

Total Liabilities» {| $ 313,522.24

 
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FORM B6A 46/90) West Group, Rochester, NY

Inre Xevin Daniels Loftus and Mildred Suzanne Loftus / Debtor Case No.

 

(if known)

SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant,
community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor's
own benefit. If the debtor is married, state whether the husband, wife, or both own the property by placing an "H,” "W," "J," or "C" in the column labeled
"Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write "None“ under "Description and Location of Property."

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts and Unexpired
Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims toe hold
a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C-Property Claimed as
Exempt.

 

 

 

 

 

 

 

 

 

 

Description and Location of Property Nature of Debtor's Current Market Amount of
Interest in Property of Debtor's Interest, Secured Claim
Husband—H| ‘i Property Without
Wife-W Deducting any
Joint=J Secured Claim or
Community~C Exemption
None None
No continuation sheets attached TOTAL $ 0.00
(Report also on Summary of Schedules.}

 

 

 
 

Inre Kevin Daniels Loftus and Miidred Suzanne Loftus

/ Debtor

SCHEDULE B-PERSONAL PROPERTY

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FORM B6B (40/89) West Group, Rochester, NY

Case No.

(if known)

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an
"x" in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with
the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own property by placing an
“H," "W," "0," or "O" in the column labeled "Husband, Wife, Joint, or Cammiunity." If the debtor is an individual or a joint petition is filed, state the arnount of
any exemptions claimed only in Schedule C-Property Claimed as Exempt.
Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts and Unexpired Leases.
if the property is being held for the debtor by someone else, state that person’s name and address under "Description and Location of Property.”

 

 

 

 

 

 

 

 

Current Market
T f P rt N D ipti i f P Value
ype of Property escription and Location of Property of Debtor's Interest,
o Husband-H in Property Without
Wife-W Deducting any
n ; Secured Claim or
Joint--J ;
e Community—C Exemption
4, Cash on hand. Cash on Hand J $ 5.00
2, Checking, savings or other financial Checking Account a $ 10,00
secounts,crtats of deposit or Cherokee Strip Credit Union
in banks, savings and loan, thrift, i508 EB. Prospect
bullding ’
and loan, and homestead associations, or Ponea City, OK 74604
credit unions, brokerage houses, or
cooperatives.
Savings Account J S$ 5.00
Cherokee Strip Credit Union
1508 E. Prospect
Ponca City, Ok 74604
3. Security deposits with public utilities, a
telephone companies, landlords, and
others,
4. Household goods and furnishings, 3 Beds, 3 Dressers vr §$ 200.00
including audio, video, and computer
equipment.
Table & Chairs J § 75.00
Lap Top & Home Computer J § 250.00
Couch, Chair, Coffee Table, TV and DVD J § 420.00
Washer/Dryer, Vacuum Cleaner & Lawn Mower vy § 175.00
5. Books, pictures and other art objects, CD Collection Pes & 200.00
antiques, stamp, coln, record, tape,
compact disc, and other collections or
collectibles.
Star Wars Collectables J S$ 250.006
6. Wearing apparel. Wearing Apparel J $ 100.006
7. Furs and Jowetry. Wedding Ring & Bracelets a $ 500.00
8. Firearms and sports, photographie, and = |.
other hobby equipment.

 

 

 

 

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#FORM 868 (10/89) West Group, Rochester, NY

. .

Inre Kevin Daniels Loftus and Mildred Suzanne Loftus / Debtor Case No.

SCHEDULE B-PERSONAL PROPERTY

(if known)

(Continuation Sheet)

 

Current Market
Value
of Debtor's Interest,

Husband—H in Property Without
Wite--W Deducting any
Joint—J Secured Claim or

Community-C Exemption

Description and Location of Property

 

Type of Property

 

o 502

 

 

mH

9, Interests in Insurance policlas. Nama
Insurance company of each policy and
itemize surrender of refund value of
each,

10. Annulties. Itemiza and name each issuer. |

11. Interests in IRA, ERISA, Keogh, or other 401k Savings Plan H $ 10,313.00
I . ize. ’ ,
pension or profit sharing plans. Itamize. Smtih International , Ine

12, Steck and Interests in incorporated and x
unincorporated businesses, Itemixe,

13. Interests In partnerships or joint x
ventures,
ttemize.

44, Government and corporate bonds and x
other negotiable and non-negotiable
instruments.

15. Accounts Receivable. x

16, Allmony, malntenance, support, and zx
property settlaments to which the debtor
Is or may be entitled. Give particulars.

47, Other liquidated debts owing debtor x
including tax refunds. Give particulars.

48. Equitable or future interests, Ife estates, |X
aad rights or powers exercisable for the
benefit of the debtor other than those
listed in Schedule of Real Property.

19. Contingant and non-contingant Zz
interests
In estate of a decedent, death benofit
plan, life Insurance policy, or trust.

2

a

, Other contingent and untiquidated x
claims
of every natura, Including tax refunds,
counterclaims of the debtor, and rights
te
sotoff claims. Give estimated value of
each,

21. Patents, copyrights, and other intellectual |X
proparty. Give particulars,

22, Licenses, franchises, and other general x
Intangibles. Give particulars.

. Automobiles, trucks, traliers and other 1997 Saturn J § 3,000.00
vehicles.

2

we

24. Boats, motors, and accessories. x

25, Aircraft and accessarias. x

26. Office equlpment, furnishings, and x
supplies.

 

 

 

 

 

 

 

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FORM B68 (10/89) West Group, Rochester, NY

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Iinre Kevin Daniels Loftus and Mildred Suzanne Loftus

(Continuation Sheet)

/ Debtor

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SCHEDULE B-PERSONAL PROPERTY

Case No.

{if known}

 

 

 

 

Current Market

 

already listed. itemize.

 

 

 

Type of Pr N Description and Location of Fropert Value
yP operty P Loc perty of Debtor's Interest,
° Husband-H in Property Without
Wife-W Deducting any
n JointeJ Secured Claim or
e Community-—-C Exemption
27. Machinery, fixtures, equipment and a
supplies used in business,
28. Inventory, x
29, Animais. x
30. Crops - growIng or harvested. x
Give particulars.
31. Farming equipment and impiements. x
32. Farm supplies, chemicals, and feed. x
33. Other parsonal property of any kindnot =| XX

 

 

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Total “*

$ 15,503.00

 

 

{Report total also on Summary of Schedules.)
Include amounts from any continuation sheets attached.
 

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“FORM B6C (6/90) West Group, Rochester, NY

Inre Kevin Daniels Loftus and Mildred Suzanne Loftus / Debtor Case No.

 

(if known)

SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor elects the exemptions to which debtor is entitled under:

(Check one box)

O 11 U.S.C. § 522(b) (1); Exemptions provided in 11 U.S.C, § 522(d), Note: These exemptions are available only in certain states.

BJ 11 U.S.C, § 522(b) (2): Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's domicile has been
located for the 180 days immediately preceding the filing of the petition, or for a longer portion of the 180-day period than in any
other place, and the debtor's interest as a tenant by the entirety or joint tenant to the extent the interest is exempt from process
under applicable nonbankruptcy law.

 

 

Specify Law Value of Current Market

Description of Property Providing each Claimed Value of Property

Exemption Exemption Without Deducting

Exemptions

Bedroom Furniture Okla. Stat. Ann. Tit. 31 §1 A3 $ 200.006 $ 200.00
Dinning Room Furniture Okia. Stat. Ann. Tit. 31 §1 A3 $ 75.00 $ 75.00
Lap Top & Home Computer Okla. Stat. Ann. Tit. 31 §1 A3 S$ 250.00 $ 250.00
Living Room Furniture Okla. Stat. Ann. Tit. 31 §1 A3 S 420.00 § 420.00
Miscellaneous Okla. Stat. Ann. Tit. 31 §1 A3 $ 175.00 $ 175.00
CD Collection Okla, Stat. Ann. Tit. 31 §1 A7 $ 200.00 $ 200.00
Star Wars Collectables Okla. Stat. Ann. Tit. 31 §1 A? $ 250.00 $ 250.00
Wearing Apparel Okla. Stat. Ann. Tit. 31 §1 Aé& $ 100.00 $ 100.00
Wedding Ring & Bracelets Okla. Stat. Ann, Tit. 32 §1 A& $ 1,000.00 $ 500.00
401k Okla. Stat. Ann. Tit. 60 §327 & §328 $ 10,313.00 $ 10,313.00
1997 Saturn Okla. Stat. Ann. Tit. 31 §1 A113 $ 3,000.00 $ 3,000.00

 

 

 

 

 

 

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FORM 86D (12/03) West Group, Rochester, NY

inre Xevin Daniels Loftus and Miidred Suzanne Loftus _/ Debtor Case No.

 

(if known)

SCHEDULE D-CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the
debtor as of the date of filing of the petition. List creditors holding all types of secured Interests such as judgment liens, garnishments, statutory liens,
mortgages, deeds of trust, and other security interests. List creditors in alphabetical order to the extent practicable. {f all secured creditors will not fit on

this page, use the continuation sheet provided.

lf any entity other than a spouse in a joint case may be jointly liable on a claim, place an “x” in the column marked “Codebtor,” include the entity on the
appropriate schedule of creditors and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
community may be liable on each claim by placing an “H,” "W," "J," or "C" in the column labeled “Husband, Wife, Joint, or Community.”

If the claim is contingent, place an "X" in the column labeled “Contingent.” If the claim is unliquidated, place an "X" in the column labeled “Untiquidated.” If the
claim is disputed, place an "X" in the colurnn labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on the
Summary of Schedules.

Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

. c 0 .
Creditor's Name and Mailing Address | | Date Claim was Incurred, ° ¥ 1; Amount of Ciaim Unsecured
9 . = as nilds i . .
Including Zip Code d Nature of Lien, and Description and tttip Without Portion, if any
a| Market Value of Property Subject to Lien i q " Deducting Value
» /H-Husband g|jle of Collateral
* |w.-Wife * lala
° | --Joint tle
f [¢--Community d
Account No:
Value:
Account No:
Value:
Account No:
Value:
Account No:
Value:
Ne continuation sheets attached Subtotal $ 0.00
(Total of this page}
Total $ 0.00
(Use only on last page. Report total also on Summary of Schedules)

 

 

 
 

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“FORM B6E:(4/04) West Group, Rochester, NY

Inre Xevin Daniels Loftus and Mildred Suzanne Loftus / Debtor Case No.
Uf known)

SCHEDULE E-CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name and mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as
of the date of the filing of the petition.

ff any entity other than a spouse in a joint case may be jointly liable on a claim, place an *X" in the column labeled “Codebtor,” include the entity on
the appropriate schedule of creditors and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them or the
marital community may be liable on each claim by placing an "H," "W," "J," or"C" in the column labeled “Husband, Wife, Joint, or Community."

If the claim is contingent, place an *x" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Uniiquidated.” If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an “X" in more than one of these three
columns.)

Report the total of claims listed on each sheet in the box labeled “Subtotal” on each sheet. Report the total of all claims listed on this Schedule E in
the box labeled "Total" on the last sheet of the completed schedule. Repeat this total also on the Summary of Schedules.

(| Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS = (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

L] Extensions of credit in an involuntary case
Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a}(2).

| Wages, salaries, and commissions
Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $4,925* per person earned within 90 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(3).

(] Contributions to employee benefit plans
Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation
of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

C] Certain farmers and fishermen
Claims of certain farmers and fishermen, up to $4,925" per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507{a)(5).

oO Deposits by individuals

Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
were not delivered or provided. 11 U.S.C, § 507(a)(6).

[| Alimony, Maintenance or Support
Claims of a spouse, former spouse, or child of the debtor, for alimony, maintenance, or support, to the extent provided in 11 U.S.C. § 507(a)(7).

><] Taxes and Certain Other Debts Owed to Governmental Units
Taxes, custom duties, and penalties owing to federal, state, and local governmental units as set forth In 11 U.S.C. § 507(a){8).

0D Commitments to Maintain the Capital of an Insured Depository Institution
Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the
Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a)().

“Amounts are subject to adjustment on Aprii 1, 2007, and every three years thereafter with respect to cases Commenced on or after the date of adjustment.

I ___continuation sheets attached
Case: 05-18148 Doc:1_ Filed: 07/08/05 Page: 12 of 28

“FORM B6E (4/04) West Group, Rochester, NY

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Inre Kevin Daniels Loftus and Mildred Suzanne Loftus / Debtor Case No.
(if known}
SCHEDULE E-CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
(Continuation Sheet)
TYPE OFPRIORITY ‘axes and Certain Other Debts Owed to Governmental Units
elyjo A
Creditor's Name and Mailing Address c Date Claim was Incurred, oln{i{ Total Amount Amount Entitled
including Zip Code q| and consideration for Claim mi > of Claim to Priority

& ' q u

b g |!

| H--Husband 4 aql@

| ¥-Wite a d

r | Y-volnt t

¢--Community q
Account No: ig S$ 3,000.00 § 3,000.00
Creditor #: i Student Loan
Sallie Mae
P.0. Box 4600
Wilkes-Barre PA 18773
Accaunt No:
Account No:
Account No:
Account No:
Account No:
Account No:
SheetNo, 2 of I continuation sheets attached to Subtotal $ 3,000.00
Schedule of Creditors (Total of this page)
Ti
{Use only on Jast page of the completed Schedule E. Report total also on Surnmary of siotals 3,000.00

 

 

 
Case: 05-18148

FORM B6F (12/03) West Group, Rochester, NY

inre Xevin Daniels Loftus and Mildred Suzanne Loftus

Doc: 1

Filed: 07/08/05

{ Debtor

Page: 13 of 28

Case No.

 

(if known)

SCHEDULE F-CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number, if any, of all entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of filing of the petition. Do not include claims listed in Schedules D and E. If all
creditors will not fit on this page, use the continuation sheet provided.

if any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,” include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is fited, state whether husband, wife, both of them, or the marital

community may de Jiable on each claim by placing an "H," "W," "J," or “C" In the column labeled “Husband, Wife, Joint, or Community."

If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled “Unliquidated.” If the
claim is disputed, place an "X" In the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on the

Summary of Schedules.

[7 Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F,

 

Creditor’s Name and Mailing Address
including Zip Code

-QeT?poon

 

Date Claim was Incurred,
and Consideration for Claim.
if Claim is Subject to Setoff, so State.

 

W--Wife
W-Joint

H--Husband

IC--Community

 

wo Peder SOO
Rong Gero ms Cc
aeorctesg

Amount of Claim

 

Account No:

 

Creditor # : 1
lAmerioredit Financial Services

PO Box 183593
Arlington TX 76096-3593

J

Repossession of 1991 Grand Caravan

$ 7,500.00

 

Account No:

 

Creditor # : 2
Anesthesia Consultants
224 E, Douglas
Wichita KS 67202

Medical Bills

§ 1,200.00

 

Account No:

 

Creditor # : 3
Area Radiology

PO Box 2189

Ponca City OK 74601

Medical Bills

§ 33.00

 

Account No;

 

Creditor #: 4

Bay Area Credit Service
50 Airport Parkway
Suite 100

San Jose CA 95110

 

 

 

 

Coliection for SBC

 

 

 

$ 0.00

 

4 continuation sheets attached

Subtotal $

{Total of this page}
Total $

(Report total also on Summary of Schedules)

8,733.00

 

 

 

 
 

Case: 05-18148

4

FORM B6F (12/03) West Group, Rochester, NY

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lnre Kevin Daniels Loftus and Mildred Suzanne Loftus / Debtor

Case No,

 

(if known)

SCHEDULE F-CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet}

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

cyuyo .
Creditor's Name and Mailing Address ¢ Date Claim was Incurred, of n| 4 Amount of Ciaim
. . n s
including Zip Code d and Consideration for Claim. : | P
e If Claim is Subject to Setoff, so State. i ug] u
b Tit
¢ |H--Husband § dje
o -Wife i|¢
y W-voint t §
iC --Community
Account No: J § le3.00
Creditor #: 5
Cavalry Investments, LLC Creditor
7 Skyline Drive
Suite 3
Hawthorne NY 10532-2162
Account No: oT S$ 0.00
Creditor #:;: 6
CBSA Collection for Via Christi
P.O, Box 1929
Stillwater OK 74076
Account No: J $ 0.00
Creditor # : 7
Central States Recovery Collection for Wichita Anestegia
P.O. Box 31306 Chartered
Hutchison KS 67504-3130 arte
Account No: J $ 0.00
Creditor # : 8
Collection Company of America Collection for SBC
PO Box 608
Tinley Park IL 60477-0608
Account No: J § 152.84
Creditor #: 9
Complete Outsourcing Solutions Collection for Verizon
PO Box 95455
Palatine IL 60095-0455
Account No: ow $ 993.43
Creditor # ; 19 Dental Bill
Dr, Quint Whitefield
1618 N. Sth
Ponca City OK 74601
SheetNo, 1 of 4 continuation sheets attached to Schedule of Subtotal $ 1,309.27
Creditors Holding Unsecured Nonpriority Claims {Total of ig as
otal

(Report total also on Summary of Schedulas)

 

 

 
 

Case: 05-18148

FORM B6F (12/03) West Group, Rochester, NY

in re_Xevin Daniels Loftus and Mildred Suzanne Loftus

Doc: 1 Filed: 07/08/05

/ Debtor

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Case No.

 

(if known}

SCHEDULE F-CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

{Continuation Sheet)

 

Creditor's Name and Mailing Address
including Zip Code

sO0ere aod

Husband
Wife

JJ

G--Community

Date Claim was Incurred,
and Consideration for Claim.
lf Claim is Subject to Setoff, so State.

 

 

aint

 

e373 OM see soo
oer geo es Cc
QeaercsovuF=09

Amount of Claim

 

Account No:

 

Creditor # : ii

Finance Systems of Green Bay
301 N. Jackson

Green Bay Wi 54305

a

Past Due Utility Bill

$ 526.55

 

Account No:

 

Creditor # : i2

First Premier Bank

10965 Decator Road
PAiiadeiphia PA i18i5¢2-32i0

Credit Card Debt

& 444,94

 

Account No:

 

Creditor # : 13

Health Care Collections
2100 S. Ciifton

Suite A

Wichita KS 67218

Collection for Via Christi

$ 0.00

 

Account No:

 

Creditor # ; 14
Kansas Imaging
245 N. Waco
Wichita KS 67202

Medical Bills

$ 1,821.00

 

Account No:

 

Creditor # : 15
Kelly Collections
PO Box 1775

Ponea City OK 74602

Collection for Dr. Whitefield &
Ponca City Women's Clinic

¢ 0.00

 

Account No:

 

Creditor # : 16

KU School of Medicine
1010 N. Kansas

Suite 30438

Wichita RS 67218

 

 

Medical Bills

 

 

 

 

 

$ 80.00

 

SheetNo. 2 of
Creditors Holding Unsecured Nonpriority Claims

4 continuation sheets attached to Schedule of

(Report total also on Summary of Schedules)

Subtotal $
{Total of this page)

2,872.49

 

Total $

 

 

 
Case: 05-18148

+

FORM 86F (12/03) West Group, Rochester, NY

Inre_Xevin Daniels Loftus and Mildred Suzanne Loftus / Debtor Case No.

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{if known)

SCHEDULE F-CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

Creditor's Name and Mailing Address

including Zip Code

70873 20900

 

Date Claim was Incurred,
and Consideration for Claim.
lf Claim is Subject to Setoff, so State.

 

iH--Husband
W--Wife
J--Joint
iC--Community

*S Po See 500
Poe Meco 2 C
ag¢eW1cCtua- oo

 

Amount of Claim

 

Account No:

 

Creditor # : 17
Oklahoma Natural Gas
Dept 1234

Tulsa OK 74186-0001

a

Past Due Utility Bill

§ 250.80

 

Account No:

 

Creditor # : 18
Pioneer Bank

2701 N. 14th

Ponca City OK 74604

Lean for Via Christi Medicai Bills

$ 1,200.00

 

Account No:

 

Creditor # ; 19

Ponca City Utilitiy Authority
P.O. Box 1450

Ponca City OK 74602

Past Due Utility Bill

§ 74.31

 

Account No:

 

Creditor # : 20
Ponca Womens Center

I908 N. 14th
Suite 202
Ponca City OK 74601

Medical Bilis

$ 152,38

 

Account No:

 

Creditor # : 21
Profession Credit Recovery
PO Box 3106

Bartlesville OK 74006

Collection for Kay County Anesthesia

$ 99.00

 

Account No:

 

Creditor # : 22
Providia Bancorp
P.O. Box 9007
Pleasanton CA 94566

 

 

 

 

Credit Card Debt

 

 

 

$ 1,113.00

 

SheetNo. 3 of 4 continuation sheets attached to Schedule of Subtotal $

Creditors Holding Unsecured Nonpriority Claims

(Total of this page)

Total $
{Report total also on Summary of Schedules)

2,889.49

 

 

 

 
 

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FORM B6F (12/03) West Group, Rochester, NY

inre Xevin Daniels Loftus and Mildred Suzanne Loftus / Debtor Case No.
(if known)

SCHEDULE F-CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

Date Claim was Incurred, Amount of Claim

and Consideration for Claim.
If Claim is Subject to Setoff, so State.

Creditor’s Name and Mailing Address
including Zip Code

 

 

H--Husband
W--Wife
W--Joint
C--Community

soOnrToOo 200
ewes Oo Fer se
ot et Qe oo wes

hRanrcyua=-O

 

 

‘Account No: wv $8 225.00

Creditor # : 23 Past Due Bill
SBC

P O Box 5072
Saginaw MI 48605

 

 

Account Na: J $ 92.93

Creditor # ; 24 Past Due Utility Bill
Time Warner Cable

PO Box 3221

jai lwaukee WI 53201°3221

 

 

Account No: H $ 296,000.00

Creditor # : 25 Medical Bills
Via Christi Medical Center
P.O. Box 1270

Ponca City OK 74602

 

 

Account No; J § 4,400.00

Creditor # ;: 26 Medical Bills
Wichita Anestisia Chartered
8080 FE. Central ave

Wichita KS 67206

 

 

Account No:

 

 

Account No:

 

 

 

 

 

 

 

 

 

Sheet No. 4 of 4 continuation sheets attached to Schedule of Subtotal $ 294,717.99

 

Creditors Holding Unsecured Nonpriority Claims (Total of this page)

Total $ 310,522.24
{Report total also on Summary of Schedules)

 

 

 
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FORM B&G (10/89) West Group, Rochester, NY

Inre Kevin Daniels Loftus and Mildred Suzanne Loftus / Debtor Case No.

(if known}

SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interests in contract, i.e., "Purchaser," “Agent,” etc. State whether debtor is the lessor or lessee of a lease,
Provide the names and complete mailing addresses of all other parties to each lease or contract described.

NOTE: A party listed on this schedule will not receive notice of the filing of this case unless the party is also scheduled in the appropriate schedule of
creditors.

fe} Check this box if the debtor has no executory contracts or unexpired leases.

 

Name and Mailing Address, Description of Contract or Lease and
including Zip Code, of Nature of Debtor's Interest.
other Parties to Lease State whether Lease is for Nonresidential Real Property.
or Contract State Contract Number of any Government Contract.

 

 

 

 

 

Page i of i
 

Case: 05-18148 Doc:1_ Filed: 07/08/05 Page: 19 of 28
+FORM B6H (6/90) West Group, Rochester, NY

inre Kevin Daniels Loftus and Mildred Suzanne Loftus f Debtor Case No.

(if known)

SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by debtor in
the schedules of creditors. Include all guarantors and co-signers. In community property states, a married debtor not filing a joint case should report the
name and address of the nondebtor spouse on this schedule. include all names used by the nondebtor spouse during the six years immediately preceding
the commencement of this case.

& Check this box if the debtor has no codebtors.

 

Name and Address of Codebtor Name and Address of Creditor

 

 

 

 

 

Page i of i
 

Case: 05-18148 Doc:1_ Filed: 07/08/05 Page: 20 of 28

“FORM B6l (12/03) West Group, Rochester, NY

+

inre Xevin Danieis Loftus and Mildred Suzanne Loftus { Debtor Case No.
(if known)

SCHEDULE !I-CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 12 or 13 case whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor's Marital DEPENDENTS OF DEBTOR AND SPOUSE
Status: RELATIONSHIP AGE
Married Daughter 12
Son 10
EMPLOYMENT: DEBTOR SPOUSE
Occupation CNC Machinist Unemployed
Name of Employer Smith Tool
How Long Employed 2 years
Address of Employer N. Waverly
Ponca City OK 74601
Income: (Estimate of average monthly income} DEBTOR SPOUSE
Current Monthly gross wages, salary, and commissions {pro rate if not paid monthly) $ 2,541.82 14% 0.00
Estimated Monthly Overtime $ 0.0015 0.00
SUBTOTAL $ 2,541.82 |$ 0.00
LESS PAYROLL DEDUCTIONS

a. Payroll Taxes and Social Security $ 359.86/$ 0.00

b. Insurance $ 210.16 |§$ a.00

c. Union Dues $ 0.00 |$ 0.00

d. Other (Specify: 401K loan $ 119.16 |$ 0.00
SUBTOTAL OF PAYROLL DEDUCTIONS $ 6499.18 (9 0.00
TOTAL NET MONTHLY TAKE HOME PAY $ 1,852.64 |$ 0.00
Regular income from operation of business or profession or farm {attach detailed statement) $ 0.00/$ 0.00
income from Real Property $ 0.00|$ 0.00
Intevest and dividends $ 0.00(/$ 0.00
Alimony, maintenance or support payments payable to the debtor for the debter’s use or that $ 0.001$ 0.00
of dependents listed above.
Social Security or ather government assistance
Specify: $ 0.00|$ 0.00
Pension or retirement income 5 0.00;$ 0.00
Other monthly income
Specity: $ 0.001$ 0.90

TOTAL MONTHLY INCOME $ 1,852.64 |$ 0.00
TOTAL COMBINED MONTHLY INCOME $ 1,852.64
(Report also on Summary of Schedules)

 

 

 

Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following the filing of this
ocument

 

 

Page No.__ 2. of i

ee OL,

 
 

Case: 05-18148 Doc:1_ Filed: 07/08/05 Page: 21 of 28

-FORM 86J,{6/90) West Group, Rochester, NY

Inre Kevin Daniels Loftus and Mildred Suzanne Loftua / Debtor Case No.
(if known)

SCHEDULE J-CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR

Complete this schedule by estimating the average expenses of the debtor and the debtor's family. Pro rate any payments made bi-weekly, quarterly,
semi-annually, or annually to show monthly rate.

[] Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures labeled
"Spouse."

 

 

Rent or home mortgage payment {include lot rented for mobile home) $ 400.00
Are real estate taxes included? ys [1 no f&
Is property insurance included? Yes [] No
Uilitias: Electricity and heating fuel $ 0.00
Water and sewer $ 0.00
Telephone $ 65.00
Other Cable $ 30.00
Other Internet Service $ 25,00
Other $ 0.00
Home maintenance (Repairs and upkeep) $ 6.00
Food $ 550.00
Clothing $ 150.00
Laundry and dry cleaning $ 50.80
Medical and dental expenses $ 350.00
Transportation (not including car payments) $ 200.00
Recreation, clubs and entertainment, newspapers, magazines, etc. $ 160.00
Charitable contributions $ 5.00
Insurance (not deducted from wages or included in home mortgage payments)
Homeowner's or ranter's $ 0.00
Life $ o.00
Health $ 0.00
Auto $ 61.00
Other $ 0.00
Other $ o.00
Other $ 0.00
Taxes (not deducted from wages or included in home mortgage)
Spacify: $ G.00
Installment payments: (in chapter 12 and 13 cases, dg not list payments to be included in the plan}
Auto $ 0.00
Othe: Unsecured Payments $ 500.00
Other: § 0.00
Other: $ 0.00
Alimony, maintenance, and support paid to others $ 0.00
Payments for support of additional dependents not living at your home $ 0.00
Regular expenses from operation of business, profession, or farm (attach detailed statement) $ 0.00
Other: $ 0.00
Other: $ G.00
Other: $ 0.00
TOTAL MONTHLY EXPENSES {Report also on Summary of Schedules)| $ 2,286.00

 

 

 

 
 

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FORM B6 (6/90) West Group, Rochester, NY

Inre Kevin Daniels Loftus and Mildred Suzanne Loftus / Debtor Case No.
{if known)

DECLARATION CONCERNING DEBTOR'S SCHEDULES

DECLARATION UNDER PENALTY OF PERJURY BY AN INDIVIDUAL DEBTOR

sheets, and that they are true and

 

| declare under penalty of perjury that | have read the foregoing summary and schedules, consisting of

correct to the best of my knowledge, information and belief.
Date: 7-6 “O 5 Signature Alvin hy. fs s

Kevin Daniels Lof this

Date: Fb- 0 oC Signature I

Mifidred Suzanne Loftus
 

Case: 05-18148 Doc:1_ Filed: 07/08/05 Page: 23 of 28
+ Form 7 (12/03) West Group, Rochester, NY

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF OKLAHOMA

inre Kevin Daniels hoftus Case No.
and Chapter 7

Mildred Suzanne Loftus

{ Debtor

STATEMENT OF FINANCIAL AFFAIRS

This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both
spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner,
family farmer, or self-employed professional, should provide the information requested on this statement conceming all such activities as well as the
individual's personal affairs.

Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions
19-25. If the answer to any question is "None," or the question is not applicable, mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

 

DEFINITIONS

*In business," A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is “in
business” for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case, any of the
following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than
a limited partner, of a partnership; a sole proprietor or self-employed.

"Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of a
corporation debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor, 11 U.S.C. §101.

1. Income from employment or operation of business.

State the gross amount of income the debtor has received fram employment, trade, or profession, or fram operation of the debtor's business fram the beginning
of this calendar year to the date this case was commenced. State also ihe gross amounts received during the two years immediately preceding this calendar year. {A
debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and
ending dates of the debtor's fiscal year.} Ifa joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must
state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.}

AMOUNT. SOURCE {if more than one}
Year to date:$12,000.00 Debtor's Employment

Last Year:327,900.00
Year before:3830,400.00

 

Year to date:$500.00 Substitute at School(when called)
Last Year:$2,200.006
Year before:$0.0

 

2. Income other than from employment or operation of business,

State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the two years immediately
preceding the commencement of this case. Give particulars. If a joint petition is filed, state Income for each spouse separately. (Married debtors filing under chapter 12 or
chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separafed and a joint petition is not filed.)

NONE

 

Statement of Affairs - Page 1
 

Case: 05-18148 Doc:1_ Filed: 07/08/05 Page: 24 of 28
+ Form 7 (12/03) West Group, Rochester, NY

3, Payments to creditors.
a. List all payments on loans, installment purchases of goods or services, and other debts, aggregating more than $600 to any creditor, made within 90 days immediately
preceding the commencement of this case, (Manied debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

NONE

 

b. List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or were insiders. (Married
debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
a joint petition is not filed.)

NONE

 

4, Suits and administrative proceedings, executions, garnishments and attachments.
a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case. (Married
debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are
separated and a joint petition is not filed.)

DY NONE

 

b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the commencement of this
case.(Married debtors filing under chapter 12 or chapter 13 must include information conceming property of either or both spouses whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed.)

NONE

 

5, Repossessions, foreclosures and returns.
List all property that has been repossessed by a craditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller, within one
year immediately preceding the commencement of this case.{Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

 

DATE OF

REPOSSESSION
NAME AND ADDRESS FORECLOSURE SALE,
OF CREDITOR OR SELLER TRANSFER OR RETURN DESCRIPTION AND VALUE OF PROPERTY
Name:Americredit Financial 02/05 Description:1991 Grand Caravan
Services Value:

Address:

 

6. Assignments and receiverships.
a. Describa any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.(Manied debtors filing
under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
petition ig not filed.)

i] NONE

 

b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the commencement of this
case.(Maried debtors filing under chapter 12 or chapter 73 must include information conceming property of either or both spouses whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed.)

—] NONE

 

7. Gifts.
List afl gifts or charitabfe contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to family members
aggregating less than $200 in value per individual family member and charitable contributions aggregating Jess than $100 per recipient.(Married debtors filing under chapter
12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint patition is filed, unless the spouses are separated and a joint petition is
not filed.)

] NONE

Statement of Affairs - Page 2
 

Case: 05-18148 Doc:1_ Filed: 07/08/05 Page: 25 of 28
a Form 7 (12/03) West Group, Rochester, NY

a

8, Losses.
List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the commencement of this case.
(Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
ang a joint petition is not filed.)

NONE

 

9. Payments related to debt counseling or bankruptcy.
List all payments made or property transferred by or on behalf of tha debior to any persons, including attorneys, for consultation conceming debt consolidation, relief
under the bankruptcy law or preparation of a petition in bankruptey within one year immediately preceding the commencement of this case.

 

DATE OF PAYMENT, AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE NAME OF PAYOR IF OTHER THAN DEBTOR DESCRIPTION AND VALUE OF PROPERTY
Payee: Todd R. Burlie Date of Payment: $751.09
Address: Payor: Kevin Daniels Loftis

P.O. Box 1897
Ponca City, OK 74602

 

10, Other transfers.
List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely or as security
within one year immediately preceding the commencement of this case.(Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both
spouses whether or nct a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NONE

 

11. Closed financial accounts.
List aff financial accounts and instruments held in the name of the debtor or for the benefit of the debfor which were closed, sold, or otherwise transferred within one year
immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or other instruments, shares and
share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under
chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petitian is filed, unless
spouses are Separated and a joint petition is not filed.)

NONE

 

12. Safe deposit boxes.

List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding the
commencement of this case.(Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of sither or both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

i NONE

 

13. Setoffs.

List all setoffg made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding tha commencement of this case. (Married debtors
filing under chapter 12 or chapter 13 must include information conceming either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
a joint petition is not filed.)

XX] NONE

 

14. Property held for another person,
List all property owned by another person that the debtor holds or controls.

KK] NONE

 

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a Form 7 (12/03) West Group, Rochester, NY

15. Prior address of debtor.

If the debtor has moved within the two years immediately preceding the commencement of this case, list all premises which the debtor occupied during that period and
vacated prior to the commencement of this case, If a joint petition is filed, report also any separate addrass of either spouse.

DATES OF
ADDRESS NAME USED OCCUPANCY
Debtor:Kevin Loftus Name({s):Xevin Loftus 07/03-12/0
Address:701 S$. 10th, Ponca City, 4
OK 74601

 

16. Spouses and Former Spouses

\f the debtor resides or resided in a community property state, commonwealth or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico,
Puerto Rico, Texas, Washington, ar Wisconsin) within the six-year period immediately preceding the commencement of the case, identify the name of the debtor's spouse
and of any former spouse who resides or resided with the debtor in the community property state.

NONE

 

17. Environmental Information

For the purpose of this question, the following definitions apply:

“Environmental Law" means any federal, state, or toca! statute or regutation regulating pollution, contamination, release of hazardous or toxic substances, wastes or material
into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
or material.

“Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the debtor,
including, but not limited to disposat sites.

“Hazardous Material” means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, poltutant, or contaminant or similar term
under and Environmental Law:

a. List the name and address of every site for which the debtor has received notice in writing by a govemmental unit that it may be liable or potentially liable under or in
violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:

NONE

 

2

b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the govemmental unit
to which the notice was sent and the date of the notice.

NONE

 

c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was 2 party. Indicate
the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

IX} NONE

 

18. Nature, location and name of business

a. if tha debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses and beginning and ending dates of all businesses in
which the debtor was an officer, director, partner, or managing executive of a corporation, partnership, sole proprietorship, or was a self-employed professional within the
six years immediately preceding the commencement of this case, ar in which the debtor owned 5 percent or more of the voting or equity securities within the six years
immediately preceding the commencement of this case

If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all businesses
in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within the six years immediately preceding the commencment of this
case.

If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all businesses
in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within the six years immediately preceding the commencment of this
tase.

&] NONE

 

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b. Identify any business listed in response to subdivision a., above, that is “single asset real estate" as defined in 11 U.S.C. § 101.

NONE

 

 

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

f declare under penalty of Perjury that | have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and
that they are true and correct to the best of my knowledge, information, and Lon |

Date cK 6°65 Signature ovr.

Kevin Dani A Loft

Date 16 “Oo C _

Penalty for making a false statement: Fine of up to $600,000 or imprisonment for up to 5 years or bath, 18 U.S.C. § 152 and § 3571.

 

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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF OKLAHOMA

Case No.

inre Kevin Daniels Loftus
Chapter 7

and

Mildred Suzanne Loftus
/ Debtor

Attorney for Debtor: Todd R. Buriie

COVER SHEET FOR LIST OF CREDITORS

| hereby certify under penalty of perjury that the attached list of creditors, which consists of 4 pages,

is true, correct and complete to the best of my knowledge.

Date: - (2 “ OS No vs. ( -

Debtor UY
Ly Zt Debtor j
‘odd R. Burlie

Attorney for the debtor{s)
P.O. Box 1897
Ponca City, OK 74602

 

   
